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13                                 UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA

15                                      SAN FRANCISCO DIVISION

16
   ANDREA BARTZ, CHARLES GRAEBER,                      Case No. 3:24-cv-05417-WHA
17 and KIRK WALLACE JOHNSON,
   individually and on behalf of others similarly      NOTICE OF ANTHROPIC PBC’S
18 situated,                                           TECHNOLOGY TUTORIAL
                                                       DEMONSTRATIVES
19                        Plaintiffs,

           v.
20
     ANTHROPIC PBC,
21
                          Defendant.
22

23

24

25

26   NOTICE OF ANTHROPIC PBC’S TECHNOLOGY TUTORIAL DEMONSTRATIVES Case No. 3:24-cv-05417-WHA
         Case 3:24-cv-05417-WHA         Document 79      Filed 02/04/25     Page 2 of 2




 1          Defendant hereby files its demonstratives used during the January 30, 2025 technology

 2   tutorial hearing.

 3

 4    Dated: February 4, 2025                    Respectfully submitted,

 5                                               By: /s/ Douglas A. Winthrop
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26   NOTICE OF ANTHROPIC PBC’S TECHNOLOGY TUTORIAL DEMONSTRATIVES Case No. 3:24-cv-05417-WHA
